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                       Exhibit 10
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From:                            MCCALLUM, Robert <rob.mccallum@freshfields.com>
Sent:                            Friday, April 12, 2024 6:09 PM
To:                              Moran, David
Cc:                              wnilsson@jw.com; MAHR, Eric (EJM); SESSIONS, Justina (JKS); ELMER, Julie (JSE); Paul
                                 Yetter; Bracewell, Mollie; Marc B. Collier; Geraldine W. Young; Zeke DeRose III
Subject:                         Texas v. Google -- Status update regarding DTPA review and rolling productions


[External Email – Use Caution]


Special Master Moran:

On March 25, 2024, the Special Master ordered Google to run all search terms “as to old and new
custodians” no later than April 5, and to produce all documents and privilege logs by April 19. ECF
No. 321 at 2. Google completed those searches in advance of the April 5 deadline and found that
applying the search terms to the eight new DTPA custodians yielded approximately 477,000
additional documents, a substantially higher volume than anticipated. Google advised the Special
Master of this development in the April 3 Status Report and noted the attendant challenges,
submitting that good cause existed to extend the deadline to April 26. ECF No. 334 at 5. During the
conference held on April 4, Google agreed to provide a status report today so the parties and the
Special Master could revisit the request for an extension if need be.

Google has hired over 700 additional reviewers to complete this review. As a result, by tonight
Google will have made two rolling productions totaling 128,711 documents. This includes 114,321
documents from the eight new DTPA custodians. Review and production of documents identified by
applying the newly agreed DTPA search terms to the 170 old custodians is now complete (with the
exception of 339 documents to be produced as part of a larger production scheduled for Monday).

Google anticipates completing its first pass review of the remaining documents by Monday, April 15,
but privilege review and logging, QC checks, and production processing will remain. Even so, Google
expects to substantially complete the production and corresponding privilege logs by the current April
19 deadline. However, we anticipate that small volumes of additional documents may follow shortly
after the current deadline, and certain elements of the review and production necessarily must also
follow shortly after the current deadline. For example, (1) documents hyperlinked in the production
set cannot be finalized until after the production set itself is finalized; (2) metadata overlays cannot be
run until after the production set is finalized; and (3) some updates to privilege logs will need to be
made after the production set is finalized so they can include Bates numbers for redacted documents.

Accordingly, Google respectfully requests that the Special Master’s April 19 deadline to complete all
DTPA productions, see ECF No. 321 at 2, be modified to require substantial completion by April 19
(including production of privilege logs), with any remaining documents and metadata to be produced
by Wednesday April 24, 2024.

Respectfully,
Robert J. McCallum
Rob McCallum
Of Counsel

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